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                Exhibit 8
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                                                        Light Phone

    http://www.thelightphone.com/blog/hardwaremeetssoftware
Phone.      The phone itself is quite simple, but the cloud software Go                           👤 ⍰❎
                                                                                                    NOV DEC JUN
                                                                        that we've acquired to support        the p
   5 captures                                                                   13                    f 🐦
t the  founders,
   13 Dec                 John Wantz and Kyle Schei on board the Light team
          2015 - 21 Apr 2017                                                 to 2015
                                                                          2014   help2017
                                                                                      us deliver thethis
                                                                                              ▾ About best    poss
                                                                                                         capture


n conjunction with your other phone seamless. Built in partnership with AT&amp;T, the software
 bsp; Typically, when you get a phone call from your mom, it goes to the carrier's tower, which the
re taking a break. Those settings sync with the Light Cloud from your smartphone.&nbsp;                           &nbs
when mom calls,&nbsp;the tower forwards the call to the Light Cloud. It's processed according to
let through to your Light Phone. When someone calls and they don't have access to reach you, say
ight Phone always uses your existing number. &nbsp; &nbsp; When someone receives a call from
 trying to develop the software from scratch, as we originally planned.&nbsp;They have great insi
 the Light App as we work on that together over the next few months.&nbsp; The proven support




                                                         HARDWARE
                                                            SOFTWARE
                                                                  MEETS




                                            HARDWARE MEETS SOFTWARE



                                            We are excited to share some big
                                            news around the software behind the
                                            Light Phone. The phone itself is quite
                                            simple, but the cloud software that
                                            we've acquired to support the phone is

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                                                           Light Phone

                                         where the innovative
    http://www.thelightphone.com/blog/hardwaremeetssoftware                 technology
                                                                                     Go             NOV DEC JUN          👤     ⍰❎
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   13 Dec 2015 - 21 Apr 2017                exists.                                                 2014 2015 2017   ▾ About this capture




                                            We found a great team from Seattle
                                            that have built an impressive platform
                                            that is perfect for the Light App. After
                                            getting to really know each other,
                                            we've decided to join forces. Light has
                                            acquired their patent pending I.P. and
                                            brought the founders, John Wantz and
                                            Kyle Schei on board the Light team to
                                            help us deliver the best possible
                                            product experience for the Light
                                            Phone.




                                       FORWARDING                                SMART LIMITS
                                        Never miss an                         Limit who can reach
                                        important call                                     you




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                                                           Light Phone

                                         This cloud software
    http://www.thelightphone.com/blog/hardwaremeetssoftware               is going to Go  NOV
                                                                                      be the        DEC JUN         👤     ⍰❎
   5 captures                                                                                       13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                "brains" behind the Light Phone. It 2014                2015 2017   ▾ About this capture

                                            will make using a Light Phone in
                                            conjunction with your other phone
                                            seamless.




                                            Built in partnership with AT&T, the
                                            software is enterprise tested. It will
                                            allow for Light to scale it's software
                                            needs globally. The Light App will be
                                            able to work across operating systems.




                                            Here are some high level animations
                                            that explain how the app, cloud, and
                                            phone work together:




                                          A CALL PLACED WITHOUT LIGHT


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                                                        48-8     Filed 04/05/21 Page 5 of 11
                                                           Light Phone

    http://www.thelightphone.com/blog/hardwaremeetssoftware                                Go       NOV DEC JUN          👤     ⍰❎
   5 captures                               Typically, when you get a phone call                         13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                                                                        2014 2015 2017   ▾ About this capture
                                            from your mom, it goes to the carrier's
                                            tower, which then recognizes the
                                            number and sends the call to your
                                            phone.




                                              SETTINGS OF THE LIGHT APP



                                            Control your settings through the
                                            Light App. Things like who gets
                                            forwarded to your Light Phone, your
                                            10 Speed dials, or maybe even tweet
                                            to the world that you're taking a break.
                                            Those settings sync with the Light
                                            Cloud from your smartphone.




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3/30/2021               Case 1:21-cv-00718-KPF DocumentThe
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                                                           Light Phone

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   13 Dec 2015 - 21 Apr 2017                                                                        2014 2015 2017   ▾ About this capture




                                          TURNING ON CALL FORWARDING



                                            Turn on call forwarding, telling the
                                            carrier's tower to forward any calls to
                                            the Light Cloud, and grab your Light
                                            Phone. A deep breath, you are free.




                                       RECEIVING A CALL ON YOUR LIGHT
                                                                  PHONE



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3/30/2021               Case 1:21-cv-00718-KPF DocumentThe
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                                                           Light Phone

    http://www.thelightphone.com/blog/hardwaremeetssoftware                                Go       NOV DEC JUN          👤     ⍰❎
   5 captures                               As you can see, when mom calls, the                          13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                                                                        2014 2015 2017   ▾ About this capture
                                            tower forwards the call to the Light
                                            Cloud. It's processed according to
                                            your settings and if approved it will
                                            get forwarded to your Light Phone. In
                                            addition to just allowing the call to
                                            forward, we can do cool things like a
                                            Light ringback tone for the callers.




                                   REJECTED CALLS GOES TO SMARTPHONE



                                            You can choose who to let through to
                                            your Light Phone. When someone
                                            calls and they don't have access to
                                            reach you, say maybe your boss, the

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3/30/2021               Case 1:21-cv-00718-KPF DocumentThe
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                                                           Light Phone

                                         cloud will recognize
    http://www.thelightphone.com/blog/hardwaremeetssoftware                           Go NOV
                                                                           this and allow           DEC JUN         👤     ⍰❎
   5 captures                                                                                       13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                them to leave a message for you on 2014                 2015 2017   ▾ About this capture

                                            your smart phone. You will see these
                                            notifications when you return to your
                                            phone.




                                            KEEP YOUR EXISTING NUMBER



                                            Outgoing calls also go through the
                                            cloud so that the Light Phone always
                                            uses your existing number.




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   5 captures                                                                                           13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                When someone receives a call from2014                       2015 2017   ▾ About this capture

                                            your Light Phone it will show on their
                                            caller ID automatically as your
                                            current number.




                                               Our first trip to Seattle in late June




                                            This is just the beginning. We are
                                            really excited to be working with John
                                            and Kyle. This is going to save us a
                                            huge amount of time in trying to
                                            develop the software from scratch, as
                                            we originally planned. They have
                                            great insights around the

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3/30/2021              Case 1:21-cv-00718-KPF Document The
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                                         telecommunications
    http://www.thelightphone.com/blog/hardwaremeetssoftware                          Go NOV
                                                                           space and will be             DEC JUN         👤     ⍰❎
   5 captures                                                                                            13                    f 🐦
   13 Dec 2015 - 21 Apr 2017                helping make sure we can                                2014 2015 2017   ▾ About this capture

                                            successfully deliver on time. These
                                            features are just the tip of the iceberg
                                            in terms of functions we can add to
                                            the Light Phone. We will be sharing
                                            more of these, as well as the design
                                            process (User Interface) for the Light
                                            App as we work on that together over
                                            the next few months.




                                            The proven support of our Kickstarter
                                            backers and on going pre-orders
                                            helped make this acquisition possible
                                            by giving confidence to future
                                            partners. Thank you once again for
                                            believing in us.




                                                            BACK TO BL OG




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